      Case 2:19-cv-08019-AB-KS Document 1 Filed 09/16/19 Page 1 of 7 Page ID #:1




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     Attorneys for Plaintiff,
5    JOHN SANTEE
6                  IN THE UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
7                           WESTERN DIVISION
8

9    JOHN SANTEE,                         ) Case No.: 2:19-cv-8019
                                          )
10                                        ) COMPLAINT
                Plaintiff.                )
11                                        )   1. Violations of the Telephone
          v.                              )      Consumer Protection Act, 47
12                                        )      U.S.C. § 227
                                          )   2. Violations of the Rosenthal
13   SPEEDY CASH,                         )      Fair Debt Collection Practices
                                          )      Act, Cal. Civ. Code §1788
14                                        )
                Defendant.                )
15                                        )
16
          JOHN SANTEE (Plaintiff), by his attorneys, WESTGATE LAW, alleges the
17
     following against SPEEDY CASH (Defendant):
18
                                  INTRODUCTION
19
       1. Count I of Plaintiff’s Complaint is based on the Telephone Consumer
20
          Protection Act, 28 U.S.C. § 227 et seq. (TCPA).
21
       2. Count II of the Plaintiff’s Complaint is based on the Rosenthal Fair Debt
22
          Collection Practices Act, Cal. Civ. Code §1788 et seq. (RFDCPA).
23

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                                       COMPLAINT
                                          -1-
     Case 2:19-cv-08019-AB-KS Document 1 Filed 09/16/19 Page 2 of 7 Page ID #:2




                            JURISDICTION AND VENUE
1
      3. Jurisdiction of this Court over Plaintiff’s Complaint arises pursuant arises
2
         pursuant to 28 U.S.C. § 1331 as Plaintiff’s claims arise under the laws of the
3
         United States, and this Court maintains supplemental jurisdiction over the
4
         state law claims alleged herein.
5
      4. Defendant conducts business in the State of California thereby establishing
6
         personal jurisdiction.
7
      5. Venue is proper pursuant to 28 U.S.C. § 1391(b) because the acts and
8
         transactions alleged in this Complaint occurred here, Plaintiff resides here,
9
         and Defendant transacts business here.
10
                                          PARTIES
11
      6. Plaintiff is a natural person residing in Los Angeles County, California.
12
         Plaintiff is a natural person from whom a debt collector seeks to collect a
13
         consumer debt which is due and owing or alleged to be due and owing.
14
      7. Defendant is a business entity with a principal place of business in Wichita,
15
         Kansas. Defendant regularly, on behalf of itself or others, engages in debt
16
         collection throughout the state of California.
17
      8. Defendant acted through its agents, employees, officers, members, directors,
18
         heirs, successors, assigns, principals, trustees, sureties, subrogees,
19
         representatives, and insurers.
20
                             FACTUAL ALLEGATIONS
21
      9. In 2018, and specifically within one (1) year prior to the commencement of
22
         the present action, Defendant contacted Plaintiff to collect money, property
23
         or their equivalent, due or owing or alleged to be due or owing.
24
      10.Plaintiff’s alleged debt arises from transactions for personal, family, and
25




                                          COMPLAINT
                                             -2-
     Case 2:19-cv-08019-AB-KS Document 1 Filed 09/16/19 Page 3 of 7 Page ID #:3




1        household purposes made on a consumer loan issued by Defendant.
2     11.In 2018, and specifically within one (1) year prior to the commencement of
3        the present action, Defendant constantly and continuously placed collection
4        calls to Plaintiff at Plaintiff’s cellular telephone number ending in 2913.
5     12.Defendant placed collection calls from numbers including, but not limited to,
6        (678) 210-6502, (678) 210-7183, (844) 359-7799, (844) 359-7800, and (623)
7        476-0026.
8     13.On several occasions, Plaintiff received artificial and/or prerecorded
9        voicemail messages from Defendant.
10    14. On or around August 9, 2019 at 8:00 a.m.., Plaintiff received a call from
11       Defendant from phone number (678) 210-6502.
12    15.In the course of the phone call on or around August 9, 2019, Plaintiff spoke
13       with Defendant’s representative, “Heidi” and requested that Defendant cease
14       placing any further calls.
15    16.Despite Plaintiff’s request to cease calling, Defendant communicated with
16       Plaintiff with such frequency as to be unreasonable under the circumstances
17       by placing multiple calls per day to Plaintiff’s cellular telephone on a daily
18       basis.
19    17.Upon information and belief, Plaintiff alleged that Defendant placed
20       approximately one hundred and thirty-five (135) autodialed collection calls
21       to Plaintiff’s cellular telephone despite Plaintiff’s request to cease.
22    18.At all times relevant to this action, while conducting business in California,
23       Defendant has been subject to, and required to abide by, the laws of the
24       United States, which included the TCPA and its related regulations that are
25       set forth at 47 C.F.R. § 64.1200 (“TCPA Regulations”), as well as the



                                         COMPLAINT
                                            -3-
     Case 2:19-cv-08019-AB-KS Document 1 Filed 09/16/19 Page 4 of 7 Page ID #:4




1        opinions, regulations and orders issued by the courts and the FCC
2        implementing, interpreting and enforcing the TCPA and the TCPA
3        regulations.
4     19.At all times relevant to this action, Defendant owned, operated and or
5        controlled an “automatic telephone dialing system” as defined by TCPA 47
6        U.S.C.    §    227(a)(1)    that     originated,   routed   and/or   terminated
7        telecommunications.
8     20.Within four years prior to the filing of this action, Defendant called Plaintiff
9        at Plaintiff’s cellular telephone using equipment which has the capacity to
10       store or produce telephone numbers to be called, using random or sequential
11       number generator and to dial such numbers, also known as an “automatic
12       telephone dialing system” as defined by TCPA 47 U.S.C. § 227(a)(1)(A) and
13       (B).
14    21.Within four years prior to the filing of this action, Defendant called Plaintiff
15       at Plaintiff’s cellular telephone using an artificial or prerecorded voice.
16    22.Defendant never received Plaintiff’s consent to call Plaintiff on Plaintiff’s
17       cellular telephone using an “automatic telephone dialing system” or an
18       “artificial or prerecorded voice” as defined in 47 U.S.C. § 227 (a)(1).
19    23.Even assuming arguendo that Defendant did have consent to call Plaintiff on
20       Plaintiff’s cellular telephone using an ATDS, that consent was subsequently
21       revoked by Plaintiff on multiple occasions.
22    24.At no time have Plaintiff and Defendant had an “established business
23       relationship” as defined by 47 U.S.C. § 227(a)(2).
24    25.Defendant is not a tax exempt nonprofit organization.
25




                                            COMPLAINT
                                               -4-
     Case 2:19-cv-08019-AB-KS Document 1 Filed 09/16/19 Page 5 of 7 Page ID #:5




1     26.Defendant’s violation of the TCPA was willful because Defendant continued
2
         to place repeated and continuous phone calls to Plaintiff despite Plaintiff’s
         clear request to cease.
3

4                            FIRST CAUSE OF ACTION
5                      (Violations of the TCPA, 47 U.S.C. § 227)
      27.Plaintiff incorporates by reference the above paragraphs of this Complaint as
6
         though fully stated herein.
7
      28. Defendant violated the TCPA. Defendant’s violations include, but are not
8
         limited to the following
9
         (a)    Within four years prior to the filing of this action, on multiple
10              occasions, Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii)
11              which states in pertinent part, “It shall be unlawful for any person
12              within the United States . . . to make any call (other than a call made
13
                for emergency purposes or made with the prior express consent of the
                called party) using any automatic telephone dialing system or an
14
                artificial or prerecorded voice — to any telephone number assigned to
15
                a . . . cellular telephone service . . . or any service for which the called
16
                party is charged for the call.
17
         (b)    Within four years prior to the filing of this action, on multiple
18              occasions, Defendant willfully and/or knowingly contacted Plaintiff at
19              Plaintiff’s cellular telephone using an artificial prerecorded voice or an
20              automatic telephone dialing system and as such, Defendant knowing

21
                and/or willfully violated the TCPA.
      29.As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled
22
         to an award of five hundred dollars ($500.00) in statutory damages, for each
23
         and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds
24
         that Defendant knowingly and/or willfully violated the TCPA, Plaintiff is
25
         entitled to an award of one thousand five hundred dollars ($1,500.00), for each



                                         COMPLAINT
                                            -5-
      Case 2:19-cv-08019-AB-KS Document 1 Filed 09/16/19 Page 6 of 7 Page ID #:6




1          and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
2
           227(b)(3)(C).
        30.Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in
3
           the future.
4
                            SECOND CAUSE OF ACTION
5
        (Violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ.
6
                                         Code §1788)
7
        31.Plaintiff repeats and realleges the allegations in Count I of Plaintiff’s
8
           Complaint as the allegations in Count II of Plaintiff’s Complaint.
9
        32.Defendant violated the RFDCPA based on the following:
10
              a. Defendant violated §1788.11(d) of the RFDCPA by causing a
11
                  telephone to ring repeatedly or continuously to annoy the person
12
                  called;
13
              b. Defendant violated §1788.11(e) of the RFDCPA by communicating,
14
                  by telephone or in person, with the debtor with such frequency as to be
15
                  unreasonable and to constitute an harassment to the debtor under the
16
                  circumstances;
17
              c. Defendant violated §1788.17 of the RFDCPA by continuously failing
18
                  to comply with the statutory regulations contained within the FDCPA,
19
                  15 U.S.C. § 1692.
20
                            PRAYER FOR RELIEF
21
           WHEREFORE, Plaintiff respectfully requests that judgment be entered
22
     against Defendant for the following:
23          (a)   An injunction prohibiting Defendant from contacting Plaintiff on
24                Plaintiff’s cellular telephone using an automated dialing system
25                pursuant to 47 U.S.C. § 227(b)(3)(A); and




                                            COMPLAINT
                                               -6-
      Case 2:19-cv-08019-AB-KS Document 1 Filed 09/16/19 Page 7 of 7 Page ID #:7




1         (b)    As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1), Plaintiff
2
                 is entitled to and requests five hundred dollars ($500.00) in statutory
                 damages, for each and every violation, pursuant to 47 U.S.C. §
3
                 227(b)(3)(B); and
4
          (c)    As a result of Defendant’s willful and/or knowing violations of 47
5
                 U.S.C. § 227(b)(1), Plaintiff is entitled to and requests treble damages,
6
                 as provided by statute, up to one thousand five hundred dollars
7                ($1,500.00), for each and every violation pursuant to 47 U.S.C. §
8                227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C); and
9         (d)    Statutory damages of $1000.00 pursuant to the Rosenthal Fair Debt
10               Collection Practices Act, Cal. Civ. Code §1788.30(b); and
11        (e)    Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair
12               Debt Collection Practices Act, Cal. Civ Code § 1788.30(c); and
13         (f)   Awarding Plaintiff any pre-judgment and post-judgment interest as
14               may be allowed under the law; and
15        (g)    For such other and further relief as the Court may deem just and proper.

16
     Date: September 16, 2019                     RESPECTFULLY SUBMITTED,
17
                                           By:/s/ Matthew A. Rosenthal
18                                                Matthew A. Rosenthal
                                                  Attorney for Plaintiff,
19                                                JOHN SANTEE
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                                         COMPLAINT
                                            -7-
